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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA, and the
STATES OF CALIFORNIA, DELAWARE,
FLORIDA, HAWAII, ILLINOIS, INDIANA,
MASSACHUSETTS, MINNESOTA,
MONTANA, NEVADA, NEW
HAMPSHIRE, NEW JERSEY, NEW
MEXICO, NEW YORK, NORTH
CAROLINA, RHODE ISLAND,
TENNESSEE, VIRGINIA and the
DISTRICT OF COLUMBIA ex rel. JAMES
GLENN,

Plaintiffs,
-against-
CISCO SYSTEMS, INC.,

Defendant.

 

 

11-CV-0400(A)

ORDER

IT IS ORDERED that this case be dismissed with prejudice as to the United States as to

the Covered Conduct described in the Federal Settlement Agreement, and without prejudice to

the United States as to conduct other than that described in the Federal Settlement Agreement as

Covered Conduct;

IT IS FURTHER ORDERED that this case be dismissed with prejudice, subject to the

terms of the State Settlement Agreement, as to the states of California, Delaware, Florida,

Hawaii, Illinois, Indiana, Massachusetts, Minnesota, Nevada, New Jersey, New Mexico, New

York, North Carolina, Tennessee, Virginia, and the District of Columbia as to the Covered

Conduct described in the State Settlement Agreement, and without prejudice to the foregoing

states as to conduct other than that described in the State Settlement Agreement as Covered

Conduct;
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IT IS FURTHER ORDERED that this case be dismissed without prejudice as to the states
of Montana, New Hampshire, and Rhode Island;

IT IS FURTHER ORDERED that this case be dismissed with prejudice as to the Relator,
James Glenn, as to the Covered Conduct described in the Settlement Agreements, and without
prejudice to the Relator as to conduct other than that described in the Settlement Agreements as
Covered Conduct; and

IT IS FURTHER ORDERED that the Court shall retain jurisdiction for the limited
purpose of enforcing the Federal Settlement Agreement and the State Settlement Agreement,
except as to the State of Florida, and over Relator’s claims for attorney fees, expenses and costs.

SO ORDERED, this 3]. day of July, 2019.

Rebuke I Upon

HONORABLE RICHARD J. ARCARA
UNITED STATES DISTRICT JUDGE
